                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA


 IN RE:                                           )
                                                  )                    OMNIBUS
 AUGUST 2010 SENTENCINGS BEFORE                   )                     ORDER
 CHIEF JUDGE LOUISE W. FLANAGAN                   )
                                                  )


       This matter comes before the court upon review of the undersigned’s criminal calendar for

the criminal session beginning July 29, 2010, and ending August 16, 2010. The deadlines set in the

faceplate of the calendar are amended as provided herein:

       1.      Any motion seeking continuance of sentencing hearing must be filed not later than

               August 5, 2010.

       2.      Any character letters shall be transmitted to chambers in unified format to the extent

               practicable, under cover of counsel’s letterhead on or before August 5, 2010.

       3.      Absent extenuating circumstances, any motion, including one for downward

               departure, and/or sentencing memorandum also shall be filed on or before August 5,

               2010.

       All other provisions set forth in the faceplate of the calendar, including those deadlines

governing arraignments, remain in full force and effect.

       SO ORDERED, this the 9th day of July, 2010.




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                                              LOUISE W. FLANAGAN
                                              Chief United States District Judge




          Case 5:09-cr-00259-FL        Document 77         Filed 07/09/10     Page 1 of 1
